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                                   STATEMENT OF FACTS

Your affiant, Adam Ayriss, is a special agent assigned to the Federal Bureau of Investigation
Detroit Field Office, Joint Terrorism Task Force, Squad 4. In my duties as a special agent, I am
responsible for investigating Domestic Terrorism cases (including Racially Motivated Violent
Extremism, Anti-Government Extremism, Anarchist Extremism, and Militia Extremism), as well
as CT Threat Assessments and Threat to Life matters. As part of my duties, I have investigated
federal criminal violations involving firearms, possession of explosives, bomb threats, and threats
of violence communicated over the phone and through the use of the internet. Currently, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a special agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President Mike
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway and the exterior doors and windows
of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted evidence of violations of local
and federal law, including scores of individuals inside the U.S. Capitol building without authority
to be there.

On January 8, 2021, the FBI National Threat Operations Center (“NTOC”) received an online
tip, via tips.fbi.gov. The tip contained information that Anthony Puma (“PUMA”), age 47, was
involved in the riot at the U.S. Capitol. The individual who provided the information indicated
that she knew PUMA and that they were “friends” on Facebook. According to the tip, PUMA
was live-streaming his activities on January 6, 2021 on Facebook. The tip indicated that PUMA
entered the U.S. Capitol building during the events described above.

While a review of the publicly available information on PUMA's Facebook page revealed several
photographs of PUMA in Washington D.C on January 6, 2021, the videos showing PUMA
entering the Capitol building were not visible. Below is a picture showing PUMA in
Washington, D.C. in January of 2021.
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On January 14, 2021, FBI Agents interviewed PUMA at his home. During the interview, PUMA
said that he left Michigan early on January 5, 2021 and that he traveled by car to Washington,
D.C. PUMA stated that he and his friends stayed until January 7, 2021, and that they stayed at
the J.W. Marriot hotel on Pennsylvania Ave. On January 6, 2021, PUMA said that he and his
friends attended a rally to hear President Trump speak to his supporters. After President Trump
spoke, PUMA and his friends followed the crowd toward the U.S. Capitol Building. According
to PUMA, as the group walked up Pennsylvania Ave toward the Capitol, they did not notice
anything of concern, nor did they witness any violence. At some point during their walk to the
Capitol, PUMA said that he heard that the Capitol was breached.

According to PUMA, he arrived at the east side of the Capitol between 1:30 p.m. and 1:45
p.m. PUMA said that, when he arrived, there were no police or barricades blocking
entry. PUMA said that he walked up on the mezzanine, walked inside the Capitol, and into the
atrium. PUMA noticed Capitol Police staged inside the Capitol in front of doors or hallways
which PUMA thought might lead to the tunnels. He said that he saw people sitting inside offices
and rooms. PUMA claimed that he did not witness any violence or looting inside the Capitol.
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During the interview, PUMA stated that, towards the end of the day, police started pushing the
crowd back away from the Capitol. PUMA said that he was close enough to feel the effects of
tear gas on one occasion. PUMA said that he noticed some citizens wearing body armor and
helmets. According to PUMA, when the police pushed the crowd away from the Capitol, PUMA
saw a few unknown individuals fighting the police officers, using chairs and pieces of railing.
PUMA said that he did not know the identity of the individuals who fought the police officers.
After leaving the Capitol, PUMA returned to his hotel for the night.

According to PUMA, he was wearing a GoPro camera on January 6, 2021 and he was live-
streaming the footage on Facebook. PUMA said that his Facebook account went “offline” that
day. PUMA believed that Facebook disabled his account because he live-streamed the events at
the Capitol.

On January 17, 2021, PUMA gave FBI Agents a 16GB SanDisk SD card containing footage
PUMA captured on his GoPro camera on January 6, 2021. Your Affiant reviewed the contents
of this SD card and observed eight separate video files. Below is a brief description of the
content of some of these video files:

Video file 5_GH020034: At 41 seconds into the video, someone can be seen riding on a
motorized cart. The person can be heard stating, “We are inside, they need help, we've breached
the Capitol.” Below is a screen capture from this video:




At minute 7:29 of this same video, as PUMA is approaching the Capitol, five individuals can be
seen, moving in a line. These individuals appear to be wearing helmets, goggles and/or
respirators, and are marked by green tape. Below is a screen capture of this portion of the video:
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Video 3_GH030034: At 3:10 into this video, PUMA can be heard encouraging others in front
of him to move forward and clear the way for others trying to scale the wall of the Capitol. At
10:34 into this video, PUMA is shown looking at his cellular phone. PUMA is shown wearing
black gloves and appears to be wearing a woodland camouflage jacket.

Video 11_GH040034: 17 seconds into this video, PUMA's cellular phone can be seen recording
or live-streaming PUMA's approach to the Capitol. Below is a screen capture from this video:
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At 2:08 into the video, PUMA can be heard telling someone that he just scaled the wall. At 3:35
into the video, the GoPro records footage as PUMA enters the U.S. Capitol through a window
which was breached next to the west entrance. Below is a screen capture from this portion of the
video:
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On April 23, 2021 a federal search warrant for the Facebook account belonging to PUMA was
issued out of the United States District Court for the District of Columbia. Law enforcement
reviewed the records provided by Facebook pursuant to the warrant, and observed the following:

On December 31, 2020, PUMA posted the following comment on Facebook, “On the 6th when
we are all there in the capital and he is givin (sic) his second term the people will see. Then you
never know we might have to start killing some commie bastards. #stopthesteal.”

On January 5, 2021, PUMA posted a photo of himself on Facebook, standing in front of a statue.
PUMA tagged the photo, and indicated that he was at Freedom Plaza (see below). Open-source
research identified the statue as the Boy Scout Memorial in Washington D.C.
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On January 5, 2021, PUMA posted a picture to his Facebook account of a crowd of people
carrying Trump signs or flags. Later that day PUMA, in a response to a friend’s comment saying
that he/she was proud of him, wrote, “Thank you. Tomorrow is the big day. Rig for Red. War is
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coming”. Puma also posted the following comment to his Facebook account on January 5, 2021,
“We are here. What time do we storm the House of Representatives?” An hour later, PUMA
posted, “Hopefully we are storming the House of Representatives tomorrow at 100pm”.

In comments posted by PUMA following the breach of the U.S. Capitol on January 6, 2021,
PUMA admitted that he was present and observed the events that occurred. PUMA wrote, “I
was there. They were flash banging us. Tear gassing us. Pepper spraying us. We were outside.
Don’t believe the NEWS. I have hours of video on my go pro.”

A Facebook friend of PUMA’s posted a comment, stating that he had a “buddy who was there,
recording the activities on live stream the whole time.” At 01:03 UTC on January 7, 2021,
PUMA’s Facebook friend posted what appears to be a screenshot of a livestream event showing
a police line with shields. Comments visible on the livestream indicate that PUMA as the one
posting this live-stream. A screenshot from this post is depicted below:
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On January 10, 2021, PUMA wrote about the hours of video he captured at the U.S. Capitol on
January 6, 2021. In one comment, PUMA wrote, “Those were after my go pro died. I only
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went live after my battery died. That was hours after all the start of the day. But they were
assholes. The stormtroopers flash banged us and shot rubber bullets into the crowd”.

On January 11, 2021, PUMA posted to Facebook, “When I got up and over the wall I walked
right into the front door and walked around in the capital bldg. Cops everywhere everyone
peaceful.”

Based on the foregoing, your affiant submits that there is probable cause to believe that Anthony
PUMA violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

Your affiant submits there is also probable cause to believe that Anthony PUMA violated 40
U.S.C. § 5104(e)(2) which makes it a crime to willfully and knowingly (C) with the intent to
disrupt the orderly conduct of official business, enter or remain in a room in any of the Capitol
Buildings set aside or designated for the use of— (i) either House of Congress or a Member,
committee, officer, or employee of Congress, or either House of Congress; or (ii) the Library of
Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.

Finally, your affiant submits there is probable cause to believe that Anthony PUMA violated 18
U.S.C. § 1512(c)(2) and 18 U.S.C. § 2, which make it a crime to obstruct, influence,
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or impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

                                                    Respectfully submitted,


                                                    _________________________________
                                                    Special Agent Adam Ayriss
                                                    FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of May 2021.
                                                                              2021.05.25
                                                                              15:55:02 -04'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
